                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )       Case No. 3:22-CR-00282
GLEN CASADA and                               )       District Judge Eli J. Richardson
CADE COTHREN                                  )       Magistrate Judge Alistair Newbern
                                              )
       Defendants.                            )
                                              )

             DEFENDANT CADE COTHREN’S MOTION FOR ISSUANCE
         OF SUBPOENAS DUCES TECUM AND MEMORANDUM IN SUPPORT

       Comes now Defendant Cade Cothren, by and through undersigned counsel, and pursuant

to Rule 17(c) of the Federal Rules of Criminal Procedure, and respectfully moves this Court for an

Order authorizing the issuance of subpoenas duces tecum to Verizon Communications, Inc.

(“Verizon”) and Confide, Inc. (“Confide”) for pretrial production of documents to be used in Mr.

Cothren’s defense at trial.

       Defense counsel requests that the subpoena direct the documents to be delivered to

undersigned counsel or to the Court no later than June 30, 2023, and, if delivered to the Court, that

the Courtroom Deputy notify undersigned counsel when they are received so that defense counsel

may obtain the original production upon request.

       In support of this Motion, Mr. Cothren would show the following:

                                           Background

       The August 22, 2022 Indictment of Mr. Cothren (Doc. No. 3) arises from the operation of

a small business, Phoenix Solutions, LLC (“Phoenix Solutions”), and its participation in the

provision of approximately $51,947 in constituent mail, postage, and related services to various




     Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 1 of 13 PageID #: 158
members of the Tennessee House of Representatives. The Indictment does not allege any financial

loss to the state of Tennessee. The trial of this case is scheduled to begin on October 3, 2023 (Doc.

No. 26).

         In the Indictment, the government alleges that Mr. Cothren, along with former

Representative Glen Casada and another former state representative, devised a scheme to obtain

state approval of Phoenix Solutions as a vendor to provide constituent mail services to members

of the Tennessee General Assembly. See Doc. No. 3. Paragraph 12 states, “The Tennessee House

Speaker’s Office had the authority to approve or deny a vendor1 to provide services or any mailing

funded by the Mailer Program.” Id. at ¶ 12. The government also avers that Mr. Cothren, Mr.

Casada, and the other state representative “conceal[ed] Cothren’s involvement in Phoenix

Solutions from the State and members of the Tennessee General Assembly,” due to their

“expectation that Phoenix Solutions would not be approved by the Tennessee House Speaker’s

Office…if Cothren’s involvement was disclosed.” Id. at ¶ 24. Based on documents produced by

the government, Speaker of the Tennessee House of Representatives Cameron Sexton has asserted

that he would not have approved Phoenix Solutions or Cade Cothren as a vendor because Mr.

Cothren resigned under a cloud of suspicion in 2019. Speaker Sexton has also claimed that Mr.

Cothren knew that he had no desire to do business with him. Further, Speaker Sexton has expressed

his belief that had he known of Mr. Cothren’s involvement in Phoenix Solutions, he would not

have thought it to be a reputable company that fulfilled its obligations to House members.

         While Speaker Sexton may insist now, publicly, that he would not have approved Mr.

Cothren as a vendor, and that Mr. Cothren was somehow aware of Speaker Sexton’s subjective




1   The absence of a vendor approval process will be addressed through a separate motion.

                                        2
      Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 2 of 13 PageID #: 159
opinion on the matter, the Verizon telephone records and Confide messaging records—in addition

to the text messages Mr. Cothren already has in his possession—will establish otherwise.

       In fact, after his resignation, Mr. Cothren remained heavily engaged with Speaker Sexton,

who relied on Mr. Cothren’s expertise, especially during the 2019 special session race for the next

Speaker of the Tennessee House of Representatives after former Speaker Glen Casada’s

resignation.

       Mr. Cothren was one of then-Representative Sexton’s most consistent confidants during

his race for Speaker. The requested telephone and messaging records should show hundreds of

telephone calls and corresponding messages between Mr. Cothren and Speaker Sexton during that

critical time period and beyond.

       The records from Confide,2 specifically, will show that Speaker Sexton was also regularly

communicating with Mr. Cothren and other state employees on the encrypted messaging

application during the relevant time period in the Indictment.

       Additionally, the requested records will show that Speaker Sexton was actively reaching

out to state officials, state employees, as well as third-parties in an attempt to secure Mr. Cothren

a job as a lobbyist as well as other opportunities. These communications are integral to Mr.

Cothren’s defense in this matter because the government’s case appears to rely—heavily—on its

theory that Mr. Cothren’s reputation was so tarnished after his resignation that Speaker Sexton was

adamantly opposed to associating or working with him at all, even on administrative matters.




2 On its website, Confide describes itself as: “Confide is a confidential messenger. It allows you
to have honest, unfiltered, off-the-record conversations. It allows you to speak freely, without the
risk of what you say being forwarded on or permanently stored, just like when you’re talking in
person.” CONFIDE, https://getconfide.com/faq (last visited May 24, 2023).

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    Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 3 of 13 PageID #: 160
       The Indictment alleges the Speaker would not have approved Mr. Cothren as a vendor if

he had known about his association with Phoenix Solutions; however, Mr. Cothren himself was

one of Speaker Sexton’s most trusted advisors even after Mr. Cothren’s resignation. To corroborate

these facts, Speaker Sexton’s Verizon and Confide records are necessary and critical to Mr.

Cothren’s defense. For these reasons, Mr. Cothren requests this Court enter an Order allowing

him to procure the Verizon and Confide records as described in more detail herein.

       Verizon and Confide are the only comprehensive sources for the totality of the information

sought–Speaker Sexton’s communications with Mr. Cothren as well as his communications with

others about Mr. Cothren. State employees are not given government cell phones, so any

communication outside legislative office phones and/or office conferences are conducted through

personal cell phones. Verizon is Speaker Sexton’s cell phone carrier via the number (931) XXX-

XXXX.3 Verizon accepts valid legal demands for records addressed to Verizon and sent via

facsimile (1-888-667-0028 for subpoena; 1-888-667-0026 for Court Orders) to the Verizon

Security Assistance Team (“VSAT”). Confide accepts valid legal demands for service through

Confide’s agent for service of process: Teltech Systems, Inc., CT Corporation System, 28 Liberty

Street, New York, New York 10005.

       Thus, Mr. Cothren moves this Court for an Order authorizing the issuance of the following

subpoenas duces tecum pursuant to Rule 17(c), as follows:

       1. Entity to be subpoenaed: Verizon Communications, Inc., Attention: VSAT, via

           facsimile: 1-888-667-0028;




3 While personal telephone numbers are not covered under the Notice Regarding Privacy and
Public Access to Electronic Case Files, out of an abundance of caution, given Speaker Sexton’s
high-profile position, undersigned counsel has redacted Speaker Sexton’s telephone number from
this Motion and, by separate Motion, seeks to file it under seal.

                                      4
    Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 4 of 13 PageID #: 161
         a. Documents to be produced: All detailed records, including historical toll

              records, depicting any and all incoming and outgoing text messages and

              telephone calls, the duration of said calls, including attempted telephone calls,

              voicemails, any other available data, and billing records, for the time period

              beginning on February 1, 2019 through January 31, 2020 for the following

              telephone number: (931) XXX-XXXX, along with a completed Affidavit of

              Custodian of Records;

         b. Deadline and place for production: On or before June 30, 2023, to the office of

              Sherwood Boutique Litigation, PLC, or, in the alternative, this Court.

  2. Entity to be subpoenaed: Confide, Inc., via certified mail to Confide’s agent: Teltech

     Systems, Inc., CT Corporation Systems, 28 Liberty Street, New York, New York

     10005.

         a. Documents to be produced: All detailed records, including the following:

              subscriber information to include full legal name, date and time of account

              creation, phone number, home address, and email; all contacts associated with

              this account; data usage for this account; communication history including any

              and all incoming and outgoing messages with dates/times and the contents of

              such messages, if available; any other available information and billing records,

              for the time period beginning on February 1, 2019 through January 31, 2020

              associated with the name Cameron Sexton and/or the phone number (931)

              XXX-XXXX, along with a completed Affidavit of Custodian Records.

         b. Deadline and place for production: On or before June 30, 2023, to the office of

              Sherwood Boutique Litigation, PLC, or, in the alternative, this Court.




                                  5
Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 5 of 13 PageID #: 162
       As discussed below, this information is relevant to, and likely admissible in, Mr. Cothren’s

impending trial. Speaker Sexton’s telephone and messaging records for this limited time period

contain information directly related to the charges in the Indictment and are essential to Mr.

Cothren’s defense and preparation for trial. These records are anticipated to lead to other trial

evidence, some of which may also need to be subpoenaed.

                                        Legal Standard

       The issuance of subpoenas is governed by Federal Rule of Criminal Procedure 17, which

provides, in part:

           A subpoena may order the witness to produce any books, papers,
           documents, data, or other objects the subpoena designates. The court may
           direct the witness to produce the designated items in court before trial or
           before they are to be offered in evidence. When the items arrive, the court
           may permit the parties and their attorneys to inspect all or part of them.

Fed. R. Crim. P. 17(c)(1).

       Rule 17(c) “implements a criminal defendant’s constitutional right ‘to have compulsory

process for obtaining witnesses in his favor’ by providing a means to subpoena witnesses and

documents for a trial or a hearing.” United States v. Llanez-Garcia, 735 F.3d 483, 493 (6th Cir.

2013) (citing U.S. Constitution Amendment VI).

       In U.S. v. Nixon, the Supreme Court set forth a four-part test that a defendant must satisfy

to compel production of documents under Rule 17(c). See United States v. Nixon, 418 U.S. 683,

697-701 (1974). The defendant must show:

           (1) that the documents are evidentiary and relevant; (2) that they are not
           otherwise procurable reasonably in advance of trial by exercise of due
           diligence; (3) that the party cannot properly prepare for trial without such
           production and inspection in advance of trial and that the failure to obtain
           such inspection may tend unreasonably to delay the trial; and (4) that the
           application is made in good faith and is not intended as a general ‘fishing
           expedition.’




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    Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 6 of 13 PageID #: 163
Id. at 699-700. See also United States v. Warren, 782 F. App’x 466, 472 (6th Cir. 2019).

       Mr. Cothren will address each prong in turn.

1.     The Records Requested Are Evidentiary And Relevant.

       A.      The requested records have significant evidentiary value.

       The first inquiry under the first Nixon prong is whether the documents sought have some

valid potential evidentiary use other than for impeachment. Nixon, 418 U.S. at 701.4 The records

being requested here are admissible as exceptions to hearsay under the Federal Rules of Evidence

Rule 803(6) as a record of a regularly conducted activity. The telephone and messaging records

will be admitted for substantive and impeachment purposes to directly counteract the

government’s theory that Phoenix Solutions would not have been approved as a vendor had the

Speaker’s Office known of Mr. Cothren’s association with the business. See United States v.

Young, No. 03-20400 BV, 2004 U.S. Dist. LEXIS 6301, at *13-14 (W.D. Tenn. Mar. 4, 2004)

(finding movants met the evidentiary standard because all the documents they sought appeared to

be admissible as business records and, for example, could be used for substantive defense matters,

or even simply to refresh the memories of witnesses). Given the personal knowledge Speaker

Sexton possesses, he is not only a potential government witness but also a crucial defense witness.

       While the telephone and messaging records requested should easily meet the evidentiary

requirements under the strictest interpretation of this prong, it is important to point out that the

Supreme Court noted in Nixon, when examining the first prong, that a lower evidentiary standard


4 Generally, the need for evidence to impeach witnesses is insufficient to require its production in
advance of trial. United States v. Nixon, 418 U.S. 683, 701-02, 94 S. Ct. 3090, 3104 (1974)
(citing United States v. Carter, 15 F.R.D. 367, 371 (DC 1954)). In Nixon, however, the court found
that since there were other valid potential evidentiary uses for the same material, and because
analysis of the requested materials would be lengthy to review, the use of some materials for
impeachment purposes was not fatal to the defendant’s Rule 17(c) motion. The information sought
by Mr. Cothren is substantive evidence in addition to impeachment evidence.


                                       7
     Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 7 of 13 PageID #: 164
may apply, or “does not apply in its full vigor,” in “the more unusual situation…” in which a

subpoena is directed “to a third-party rather than to government prosecutors.” See Nixon 418 U.S.

683 at n.12 (citing United States v. Mitchell, 377 F. Supp. 1326 (1974)).

       B.         The requested records are indisputably relevant.

       Relevant evidence is evidence having “any tendency to make a fact more or less probable

than it would be without the evidence; and the fact is of consequence in determining the action.”

Fed. R. Evid. 401. Because of the difficulties inherent in establishing the admissibility of certain

evidence at such an early stage, the showing for Nixon purposes need not be as detailed as it would

to secure admission at trial, and courts should find the evidentiary requirement satisfied if the

documents are “arguably relevant and admissible.” United States v. Libby, 432 F. Supp. 2d 26, 31

(D.D.C. 2006) (emphasis added).

       “In United States v. Wittig, 250 F.R.D. 548, 550-51 (D. Kan. 2008), a defendant issued a

Rule 17(c) subpoena to his former employer seeking evidence regarding his former employer’s

role in the criminal investigation that led to his indictment.” United States v. Raheja, No. 1:19-cr-

559, 2021 U.S. Dist. LEXIS 23541, at *8 (N.D. Ohio Feb. 8, 2021). “In quashing the subpoena on

relevance grounds, the court noted that the ‘documents defendant seeks do not relate to whether or

not he committed any of these or other acts alleged in the [indictment].’” Id. (quoting Witting, 250

F.R.D. at 553).

       That is not the case here. The requested records relate directly to the charges in the

Indictment. (Doc. No. 3). All of the records Mr. Cothren seeks from Verizon and Confide contain

critical communications between Speaker Sexton, a crucial witness, and Mr. Cothren and Speaker

Sexton and others regarding Mr. Cothren dating back to Mr. Cothren’s time in the legislature, the

immediate months thereafter, and during the time Phoenix Solutions was in operation. Mr. Cothren




                                     8
   Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 8 of 13 PageID #: 165
has identified key allegations in the Indictment this information is sought to challenge. (Doc. No.

3 at ¶¶ 9, 21, 24).

        These telephone and messaging records bear directly on the Indictment’s allegations,

including the government’s contention that: “[i]t was a further purpose of the conspiracy to conceal

from the State and its citizens COTHREN’s involvement in Phoenix Solutions…due to the

Defendants’ and Individual 4’s expectations that Phoenix Solutions would not be approved by the

State…if COTHREN’s operational involvement and financial interests…were disclosed.” (Doc. 3

at ¶ 21); and many others. In sum, records of repeated and regular telephone calls and messages

between Mr. Cothren and others with Speaker of the House Cameron Sexton—the leader who

claims he had ultimate authority over the Mailer Program—strongly suggest a high degree of trust,

reliance, and confidence between these two individuals after Mr. Cothren’s resignation and are

fundamentally relevant to this case.

2.      The Documents Requested Are Not Otherwise Procurable Reasonably In Advance Of
        Trial By Exercise Of Due Diligence.

        Verizon and Confide do not voluntarily turn over third party records upon request. Absent

a subpoena, the records for the phone number requested cannot be obtained from Verizon or

Confide or via a Public Records Act (T.C.A. § 10-7-501, et seq.) request because state employees

are not given government cell phones.

        Additionally, there is no indication that the government has these records, leaving Verizon

and Confide as likely the only sources from which to obtain them. Thus, the records are not

reasonably procurable in advance of trial without these subpoenas.

        Although Mr. Cothren’s own telephone records contain some records of his

communications with Speaker Sexton, Mr. Cothren does not have the totality of the information




                                       9
     Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 9 of 13 PageID #: 166
sought and the records will not contain Speaker Sexton’s communication with third-parties or the

information in Speaker Sexton’s Confide messaging records.

3.        Mr. Cothren Cannot Properly Prepare For Trial Without Production And Inspection
          Of These Requested Documents And Failure To Obtain These Documents In Advance
          of Trial Will Unreasonably Delay The Trial.

          As explained supra, the documents requested are directly relevant to charges in the

Indictment and, thus, are essential to Mr. Cothren’s defense. The records of Speaker Sexton’s

ongoing conversations with, and attempts to secure employment for, Mr. Cothren, will

significantly undercut the government’s theory that Mr. Cothren was persona non grata to the

Speaker, his office and other staff, and members of the General Assembly. Without these

documents, Mr. Cothren’s ability to prepare his defense will be greatly hampered.

          In another Sixth Circuit case, United States v. Young, the Western District of Tennessee

found that similarly situated defendants seeking a third-party subpoena satisfied the third Nixon

factor:

          Young needs these items in order to properly prepare his arguments and defenses
          for trial. They are important to his defense and, as alleged, Young’s trial preparation
          will be hampered if they are not obtained. Should Young be forced to wait until
          trial for disclosure, the review of the items would likely be lengthy and would likely
          unreasonably delay trial. Belt describes the material in the NCAA files as
          voluminous. (Id. at P6.) He indicated that the recorded statements of Milton Kirk
          alone are approximately twenty-four hours in length. The NCAA memorandum of
          meetings with Fulmer provided to Young by the government as part of its discovery
          is not necessarily an adequate substitute for all the memoranda and notes of
          interviews in the possession of the NCAA and of Fulmer.

United States v. Young, No. 03-20400 BV, 2004 U.S. Dist. LEXIS 6301, at *14-15 (W.D. Tenn.

Mar. 4, 2004).

          Mr. Cothren is requesting records from a focused date range—a period of one year—as the

communications between Speaker Sexton and Mr. Cothren, and Speaker Sexton and others

regarding Mr. Cothren, were extensive and extend throughout and beyond the relevant time periods



                                       10
     Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 10 of 13 PageID #: 167
referenced in the Indictment. If Verizon and Confide are not required to produce the records

requested until trial, an unreasonable delay would undoubtedly result to permit defense counsel to

pore over one year’s worth of telephone and messaging records. This Court should find Mr.

Cothren’s request meets the third prong of Nixon.

4.      This Application Is Made In Good Faith And Is Not A “Fishing Expedition.”

        The Indictment of Mr. Cothren is no small matter. Mr. Cothren is cognizant that requesting

the telephone and messaging records of the Speaker of the Tennessee House of Representatives is

a weighty task but one that is necessary. Mr. Cothren is the one who stands accused of

misappropriating federal funds and abusing the trust of the citizens of Tennessee. Mr. Cothren’s

defense will require him to present–and the jury to grasp–evidence unveiling the inner workings

of the Speaker’s Office and legislative relationships, among other things, and the telephone and

messaging records requested herein are directly relevant and critical to his defenses against the

government’s accusations.

        Mr. Cothren is aware that in examining this factor “[c]ourts have repeatedly emphasized

that fishing expeditions should be prevented by requiring specificity.” See United States v. Ihsaan

Al-Amin, No. 1:12-CR-50, 2013 U.S. Dist. LEXIS 104177, at *17 (E.D. Tenn. July 25, 2013)

(citing United States v. Collins, No. 11-CR-00471-DLJ (PSG), 2013 U.S. Dist. LEXIS 36361,

2013 WL 1089908, at *4 (N.D.Cal. Mar. 15, 2013)); United States v. Shanahan, No. S1-4:07 CR

175 JCH, 2008 U.S. Dist. LEXIS 16125, 2008 WL 619213, at *4 (E.D. Mo. Mar. 3, 2008). Courts

have found that “a request will usually be sufficiently specific where it limits documents to a

reasonable period of time and states with reasonable precision the subjects to which the documents

relate.” Shanahan, 2008 WL 619213, at *4 (E.D. Mo. 2008) (denying subpoena because




                                       11
     Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 11 of 13 PageID #: 168
documents did not relate to guilt as to the charges) (citing United States v. RW Prof’l Leasing

Servs. Corp., 228 F.R.D. 158, 162 (E.D.N.Y. 2005)).

       The request made here is specific and limited. Mr. Cothren simply requests the telephone

logs and messaging data of the singular number provided for a one-year period. These requests are

made with much more than “[t]he mere hope of discovering favorable evidence.” Mr. Cothren was

a party to hundreds of conversations with Speaker Sexton in the relevant time period, and Speaker

Sexton now apparently claims that Mr. Cothren was unwelcomed and untrusted by the Speaker

and his office. Mr. Cothren is aware, from conversations with Speaker Sexton and others, that

Speaker Sexton had several conversations with multiple specific individuals regarding future

employment for Mr. Cothren as a lobbyist. These telephone and messaging records are being

requested to show those specific facts which, as detailed herein, are essential to his defense.

       In sum, this is not a fishing expedition, and this Court should allow the issuance of these

subpoenas to compel Verizon’s and Confide’s compliance with the same if necessary.

                                              Conclusion

       For all the above reasons, Mr. Cothren respectfully requests that this Court enter an Order,

pursuant to Rule 17(c), directing that subpoenas duces tecum be issued to Verizon and to Confide

via the information provided and for the documents and records described on pages 4 and 5, infra.

Mr. Cothren further requests that Verizon and Confide be required to provide the responsive

documents, along with a completed Affidavit of Custodian of Records, prior to the anticipated trial

and no later than June 30, 2023.

       Mr. Cothren further asks that the requested documents be provided either to undersigned

counsel or to the Court.




                                     12
   Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 12 of 13 PageID #: 169
                                                      Respectfully Submitted,

                                                      Sherwood Boutique Litigation, PLC

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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was electronically filed with the Clerk

on May 25, 2023, and service was made upon all persons registered in that case via CM/ECF

and/or by email.


                                                              /s/ Cynthia A. Sherwood




                                     13
   Case 3:22-cr-00282 Document 46 Filed 05/25/23 Page 13 of 13 PageID #: 170
